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                                       1:20cr349, USA v. Young
                                         US District Court Criminal Docket
                                                  U.S. District - Colorado
                                                         (Denver)
                                     This case was retrieved on 11/13/2020




Header


Date Filed: 10/29/2020                                                                               Class Code: Open
Other Docket: None                                                                                           Closed:




Defendant
Name                                                           Attorneys
Michael Stephen Young                                          Brian Rowland Leedy
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Charges                                                        Disposition
Complaints: none
Pending: 18 U.S.C. § 1001 - False Statements(1)
Offense Level (Opening): Felony
Terminated: none
Case Assigned To: Judge R. Brooke Jackson




                                                     Kenneth Harmon
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Proceedings

 #        Date             Proceeding Text                                                        Source
 1        10/29/2020       INFORMATION as to Michael Stephen Young (1) count(s) 1.
                           (Attachments: # 1 Criminal Information Sheet) (rvill, ) (Entered:
                           10/29/2020)
 2        10/29/2020       NOTICE of Related Cases by USA as to Michael Stephen Young
                           (morti, ) (Entered: 10/29/2020)
 3        10/29/2020       MINUTE ENTRY for Initial Appearance, Waiver of Indictment,
                           Arraignment, Discovery and Detention (by VTC) as to Michael
                           Stephen Young held before Magistrate Judge Scott T. Varholak
                           on 10/29/2020. Defendant present by VTC in C204 with counsel
                           and consents to proceed by VTC. Mr. Leedy is retained counsel.
                           Defendant advised. Government is filing an Information and would
                           like to proceed by Waiver of Indictment. Defendant consents to
                           proceeding by Waiver of Indictment. Waiver of Indictment
                           accepted by the Court. Plea of NOT GUILTY entered by
                           defendant. Counsel for the government states that a Discovery
                           memorandum is not needed in this case. Pursuant to the Due
                           Process Protections Act, the Court confirms the United States'
                           obligation to produce all exculpatory evidence to the defendant
                           pursuant to Brady v. Maryland, 373 U.S. 83 (963) and its progeny,
                           and orders it to do so. Failing to do so in a timely manner may
                           result in consequences, including, but not limited to, exclusion of
                           evidence, adverse jury instructions, dismissal of charges,
                           contempt, or sanctions by the court. Bond set as to Michael
                           Stephen Young (1) Personal Recognizance. Defendant advised of
                           conditions of bond and remanded for processing and release.
                           Defendant instructed to report to the U.S. Marshal Service for
                           processing. Defendant authorizes the court to place his
                           s/signature on his behalf on the bond paperwork. Counsel is
                           directed to contact chambers for future court dates. (Total time: 12
                           minutes, Hearing time: 1:42-1:54)APPEARANCES: Pegeen
                           Rhyne on behalf of the Government, Brian Leedy on behalf of the
                           defendant, Angela Ledesma on behalf of pretrial. FTR: 402.
                           (morti, ) Text Only Entry (Entered: 10/29/2020)
 4        10/29/2020       WAIVER OF INDICTMENT by Michael Stephen Young by


                                                   Kenneth Harmon
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 #         Date                Proceeding Text                                                          Source
                               Magistrate Judge Scott T. Varholak on 10/29/2020. (morti, )
                               (Entered: 10/29/2020)
 5         10/29/2020          Personal Recognizance Bond Entered as to Michael Stephen
                               Young (morti, ) (Entered: 10/29/2020)
 6         10/29/2020          ORDER Setting Conditions of Release as to Michael Stephen
                               Young (1) PR Bond by Magistrate Judge Scott T. Varholak on
                               10/29/2020. (morti, ) (Entered: 10/29/2020)
 7         10/30/2020          Passport Receipt as to Michael Stephen Young.Surrender of
                               passport re Bond Conditions; Passport Number 246385617 issued
                               by USA (cpomm, ) (Entered: 10/30/2020)
 9         11/04/2020          NOTICE OF ATTORNEY APPEARANCE: Fredric Michael
                               Winocur appearing for Michael Stephen YoungAttorney Fredric
                               Michael Winocur added to party Michael Stephen Young(pty:dft)
                               (Winocur, Fredric) (Entered: 11/04/2020)
 10        11/04/2020          NOTICE OF ATTORNEY APPEARANCE: Brian Rowland Leedy
                               appearing for Michael Stephen YoungAttorney Brian Rowland
                               Leedy added to party Michael Stephen Young(pty:dft) (Leedy,
                               Brian) (Entered: 11/04/2020)
 11        11/04/2020          NOTICE of Disposition by Michael Stephen Young (Leedy, Brian)
                               (Entered: 11/04/2020)
 12        11/05/2020          MINUTE ORDER as to Michael Stephen Young re 11 Notice of
                               Disposition. In light of the notice of disposition, the Court requests
                               that the parties jointly contact Chambers at
                               jackson_chambers@cod.uscourts.gov within 14 days to set a
                               change of plea. By Judge R. Brooke Jackson on 11/5/2020. Text
                               Only Entry (rbjsec. ) (Entered: 11/05/2020)
 13        11/13/2020          MINUTE ORDER as to Michael Stephen Young. A Change of
                               Plea Hearing is set for 1/11/2021 at 2:30 PM in Courtroom A 902
                               before Judge R. Brooke Jackson. Due to the COVID-19
                               pandemic, the hearing will be held by video teleconference. The
                               Court's staff will provide connection instructions to the parties by
                               email prior to the hearing. The Court requests that counsel email
                               the fully executed plea documents to
                               jackson_chambers@cod.uscouts.gov at least three business days
                               prior to the hearing. By Judge R. Brooke Jackson on 11/13/2020.
                               Text Only Entry (rbjsec. ) (Entered: 11/13/2020)


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                                                        Kenneth Harmon
